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                                                  SEA FRIENDS INCOPORATED
                                              7
                                              8                            UNITED STATES DISTRICT COURT
                                              9                                  DISTRICT OF NEVADA
                                             10
                                                  ENERKON SOLAR INTERNATIONAL, INC.,            )   Case No.: 2:21-cv-01122-JCM-VCF
                                             11                                                 )
                                                                      Plaintiff,                )   DEFENDANTS’ MICHAEL
                                             12                                                 )   STUDER AND SEA FRIENDS
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                                                                       v.                       )   INCORPORATED’S MOTION
     The Amin Law Group NV, LTD.




                                             13                                                 )   TO DISMISS PLAINTIFF
                                                                                                )
          Las Vegas, NV 89169




                                                  JOHN V. CAPPELLO, an individual;                  ENERKON SOLAR
                                             14                                                 )   INTERNATIONAL, INC.’S
                                                  STUDEBAKER DISTRIBUTION CORP., a
                                                                                                )   FIRST AMENDED COMPLAINT
                                             15   revoked Wyoming corporation; CATHY D.         )
                                                  COLLINS, as trustee of STUDEBAKER             )
                                             16   DISTRIBUTION CORP and individually, VASTHI )
                                                  AVILA, an individual; STREAMWORX, LLC, a      )
                                             17                                                 )
                                                  Wyoming revoked limited liability company;
                                             18   JONATHAN BAKER, as trustee of                 )
                                                  STREAMWORX, LLC and individually;             )
                                             19                                                 )
                                                  EXCELSIOR CONSULANTS, INC., a revoked         )
                                             20   Wyoming corporation; JEFF GREENEY, as trustee )
                                                  of EXCELSIOR CONSULTANTS, INC. and            )
                                             21   individually; SEA FRIENDS INCOPORATED, a      )
                                                  New York non-profit corporation; MICHAEL      )
                                             22   STUDER, an individual; LUCIOUS GLENN, an      )
                                                                                                )
                                             23   individual; JOHN BAUSCHKA, an individual; DOE )
                                                  INDIVIDUALS 1 through 5; inclusive; and ROE   )
                                             24   BUSINESS ENTITITES 6 through 10, inclusive    )
                                                                                                )
                                             25                  Defendants.
                                             26
                                             27
                                             28



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                                                                             DEFENDANTS’ MOTION TO DISMISS
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                                              1            COMES NOW, MICHAEL STUDOR and SEA FRIENDS INCOPORATED (“Defendants”)
                                              2   by and through his counsel of record, THE AMIN LAW GROUP, NV, LTD., and file this instant
                                              3   Motion to Dismiss.
                                              4   I.       INTRODUCTION
                                              5            On or about July 2, 2021, Plaintiff filed its First Amended Complaint with this Honorable Court.
                                              6   (#1). Plaintiff has named a host of parties, including Defendants as defendants in the action. However,
                                              7   the Complaint fails to sufficiently plead allegations to support a basis for recovery. Defendants are left
                                              8   to guess as to what the underlying allegations are because the Complaint is devoid of the basic who,
                                              9   what, where, when, and how of allegations.
                                             10   II.      LEGAL ANALYSIS
                                             11            A. Standards For Granting A Motion To Dismiss
                                             12            Federal Rule of Civil Procedure 12(b)(6) holds that dismissal is proper where there is either a
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                                             13   “lack of cognizable legal theory” or “the absence of sufficient facts alleged under a cognizable theory
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                                             14   of law.” Balistreri v. Pacific Police Dept., 901 F. Supp. 2d 696, 699 (9th Cir. 1990).
                                             15            When considering a motion to dismiss for failure to state a claim upon which relief can be
                                             16   granted, all material allegations in the complaint are accepted as true and are construed in the light most
                                             17   favorable to the non-moving party. Conley v. Gibson, 355 U.S. 41, 45, 78 S. Ct. 99, 101-02 (1957);
                                             18   Russell v. Landrieu, 621 F.2d 1037, 1039 (9th Cir. 1980). It is essentially a ruling on a question of law.
                                             19   North Star Int'I v, Arizona Corp. Comm., 720 F.2d 578, 580 (9th Cir. 1983). For the movant to succeed,
                                             20   it must appear to a certainty plaintiff will not be entitled to relief under the facts alleged in the
                                             21   complaint. Halet v. Wend Invest. Co., 672 F.2d 1305, 1309 (9th Cir. 1982).
                                             22            Bell Atlantic Corp. v Twombly. 550 U.S. 544, 127 S Ct. 1955 (2007) renders plain the minimum
                                             23   pleading requirements of stating a claim of relief that is "plausible on its face." Twombly, 127 S. Ct. at
                                             24   1974. The Court revised the standard and held a complaint should be dismissed if the plaintiff has failed
                                             25   to plead "enough facts to state a claim for relief that is plausible on its face" or does not "raise a right
                                             26   to relief above the speculative level." Id. at 1965, 1974. "A plaintiff is obligated to provide 'more than
                                             27   labels and conclusions, and a formulaic recitation of the elements of a cause of action will not do.'" Id.
                                             28   at 1964-65; see also Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 1949-50 (2009).



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                                              1           In analyzing Plaintiffs Complaint, this Court does need not assume the truth of Plaintiff’s legal
                                              2   conclusions merely because they are cast in the form of factual allegations. Ritzer v. Gerovicap
                                              3   Pharmaceutical Corp., 162 F.R.D. 642, 645 (D. Nev. l 995) (citing Western Mining Counsel v. Watt,
                                              4   643 F.2d 618, 624 (9th. Cir. 1981), cert. denied, 454 U.S. (1981)). "A claim has facial plausibility when
                                              5   the plaintiff pleads factual content that allows the court to draw the reasonable inference that the
                                              6   defendant is liable for the misconduct alleged." Id. at 1949. The well-pled facts must go beyond the
                                              7   "sheer possibility that a defendant has acted unlawfully" or facts that are "merely consistent with" a
                                              8   defendant's liability. Id.
                                              9           In this case, among the problems, Plaintiff's allegations fail to establish claims under any of the
                                             10   legal theories propounded. Accordingly, dismissal is warranted.
                                             11           B. Dismissal Is Appropriate As Plaintiff Fails To State A Claim For Relief Because The
                                             12               Factual Allegations Are Vague And Ambiguous
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                                             13           Plaintiff’s Amended Compliant fails to include an “Allegations” section that lays out the factual
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                                             14   allegations being made against the Defendant. Rather, the Amended Complaint simply identifies the
                                             15   various parties and then lists a host of causes of action. Furthermore, as to all but the third cause of
                                             16   action, Breach of Fiduciary Duty, none of the other causes of action identify which Defendants are
                                             17   potentially liable for which causes of action. Thus, this Defendant, and all other defendants, are left to
                                             18   simply guess what allegations concern them and which causes of action they could potentially be liable
                                             19   for. Defendants are therefore unable to provide sufficient answers to the pending allegations.
                                             20           Moreover, Plaintiff’s Complaint fails to make clear allegations in support of its claims. As to
                                             21   Defendant Studer, the sole allegation of Plaintiff’s Complaint is a conclusory assertion that he was a
                                             22   former Secretary, Treasurer, and Chief Financial Officer of ENKS who issued shares of ENKS stock
                                             23   after he was removed as an officer in 2018. See Complaint at Paragraphs 7-9. Defendants vehemently
                                             24   deny this allegation.
                                             25           The Federal Rules require that a plaintiff must allege “enough facts to state a claim to relief that
                                             26   is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. at 570. This requires more than
                                             27   “labels and conclusions” or “a formulaic recitation of the elements of a cause of action.” Id. at 555.
                                             28   “A claim has factual plausibility when the plaintiff pleads factual content that allows the court to draw



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                                              1   the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556
                                              2   U.S. 662, 678, 129 S.Ct. 1937, 1949, 173 L.Ed. 868 (2009). Plaintiff’s Complaint presents no
                                              3   meaningful facts that sufficiently describe the purported allegations. Defendants are left with an
                                              4   inability to sufficiently form a defense to the allegations unless specific factual assertions are made.
                                              5   Defendants are therefore entitled to dismissal of Plaintiff’s Complaint as it does not sufficiently state a
                                              6   claim for relief.
                                              7           C. The 15 U.S.C. 78 Causes Of Actions Must Be Dismissed Because There Is No Private
                                              8               Right Of Action
                                              9           Plaintiff’s Complaint includes two causes of action for violations for 15 U.S.C. 78. Both must
                                             10   be dismissed. The first cause of action complains that Defendants are liable under 15 U.S.C. 78o
                                             11   because they were allegedly not registered with the SEC to sell or purchase convertible notes.
                                             12   However, there is no private right of action under this statutory provision that would allow Plaintiff to
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                                             13   bring this cause of action. Specifically, the Ninth Circuit has held, “that no private right of action is to
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                                             14   be implied under this section.” SEC v. Seaboard Corp., 677 F.2d 1301, 1314 (9th Cir. 1982). Because
                                             15   there is no private cause of action under 15 U.S.C. 78o, only the SEC could bring action against these
                                             16   Defendants. Other individuals or companies, such as Plaintiff, are unable to sustain actions for these
                                             17   allegations. Thus, the first cause of action must be dismissed.
                                             18           D. The 15 U.S.C. 78 Causes Of Actions Must Be Dismissed Because The Complaint Does
                                             19               Not Meet The Heightened Standard Requirements
                                             20           Through the Private Securities Litigation Reform Act of 1995 ("PSLRA"), Congress has
                                             21   imposed heightened pleading standards on securities fraud actions. 15 U.S.C. §§ 78u-4(b)(1), (2). "The
                                             22   PSLRA significantly altered pleading requirements in private securities fraud litigation by requiring
                                             23   that a complaint plead with particularity both falsity and scienter." In re Vantive Corp. Sec. Litig., 283
                                             24   F.3d 1079, 1084 (9th Cir. 2002) (citing Ronconi v. Larkin, 253 F.3d 423, 429 (9th Cir. 2001)). "The
                                             25   purpose of this heightened pleading requirement was generally to eliminate abusive securities litigation
                                             26   and particularly to put an end to the practice of pleading 'fraud by hindsight.'" Id. at 1084-85 (citing In
                                             27   re Silicon Graphics Sec. Litig., 183 F.3d 970, 973 (9th Cir. 1999)). To meet this heightened pleading
                                             28   requirement, the complaint must "specify each statement alleged to have been misleading, the reason



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                                              1   or reasons why the statement is misleading, and, if an allegation regarding the statement or omission is
                                              2   made on information and belief, the complaint shall state with particularity all facts on which that belief
                                              3   is formed." Id. at 1085 (citing 15 U.S.C. §§ 78u-4(b)(1)).
                                              4          The second requirement of the PSLRA is that the complaint must "state with particularity facts
                                              5   giving rise to a strong inference that the defendant acted with the required state of mind." Id. (citing 15
                                              6   U.S.C. §§ 78u-4(b)(2)) (emphasis added). The Ninth Circuit has interpreted the scienter pleading
                                              7   requirement as meaning that plaintiffs "must plead, in great detail, facts that constitute strong
                                              8   circumstantial evidence of deliberately reckless or conscious misconduct." Silicon Graphics, 183 F.3d
                                              9   at 974. The Silicon Graphics Court further clarified that "recklessness only satisfies scienter under §
                                             10   10(b) to the extent that it reflects some degree of intentional or conscious misconduct." Id. at 977. The
                                             11   requisite recklessness must be an "extreme departure from the standards of ordinary care, and which
                                             12   presents a danger of misleading buyers that is either known to the defendant or so obvious that the actor
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                                             13   must have been aware of it." Id. at 984. A plaintiff cannot proceed on pleadings averring scienter based
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                                             14   on mere "motive and opportunity" but instead must "state specific facts indicating no less than a degree
                                             15   of recklessness that strongly suggests actual intent." Id. at 979.
                                             16          In Tellabs v. Makor Issues & Rights, Ltd., _ U.S. _, 127 S. Ct. 2499, 168 L. Ed. 2d 179 (2007),
                                             17   the Supreme Court elaborated on the PSLRA's "strong inference" standard for pleading scienter.
                                             18   Agreeing with the standard in the Ninth Circuit, the Court held that:
                                             19          "courts must consider the complaint in its entirety, as well as other sources courts ordinarily
                                             20          examine when ruling on Rule 12(b)(6) motions to dismiss . . . . The inquiry, as several Courts
                                             21          of Appeals have recognized, is whether all of the facts alleged, taken collectively, give rise to
                                             22          a strong inference of scienter, not whether any individual allegation, scrutinized in isolation,
                                             23          meets that standard." Id. at 2509 (emphasis in original).
                                             24          Under the PSLRA "when determining whether plaintiffs have shown a strong inference of
                                             25   scienter, the court must consider all reasonable inferences to be drawn from the allegations, including
                                             26   inferences unfavorable to the plaintiffs." Gompper v. VISX, Inc., 298 F.3d 893, 897 (9th Cir. 2002).
                                             27   However, the "inference that the defendant acted with scienter need not be irrefutable, i.e., of the
                                             28   'smoking-gun' genre, or even the 'most plausible of competing inferences' . . . . [T]he inference of



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                                              1   scienter must be more than merely 'reasonable' or 'permissible'- it must be cogent and compelling, thus
                                              2   strong in light of other explanations." Tellabs, 127 S. Ct. at 2510. Thus, a "complaint will survive. . .
                                              3   only if a reasonable person would deem the inference of scienter cogent and at least as compelling as
                                              4   any opposing inference one could draw from the facts alleged." Id. (emphasis added).
                                              5          Plaintiff’s Complaint fails to make even the basic allegations to support its claims, much less
                                              6   the heightened standard required for the 15 USC 78j causes of action. To wit, the sole allegation
                                              7   articulated within Plaintiff’s Complaint is a conclusory assertion that Defendant Studer was a former
                                              8   Secretary, Treasurer, and Chief Financial Officer of ENKS who issued shares of ENKS stock after he
                                              9   was removed as an officer in 2018.
                                             10          The Supreme Court has enumerated the following elements of a cause of action for securities
                                             11   fraud arising under section 10(b) and rule 10b-5: (1) a material misrepresentation (or omission); (2)
                                             12   scienter, i.e., a wrongful state of mind; (3) a connection with the purchase or sale of a security; (4)
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                                             13   reliance, (5) economic loss; and (6) loss causation. Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 341,
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                                             14   125 S. Ct. 1627, 1630-31, 161 L. Ed. 2d 577 (2005). Here, Plaintiff has failed to include even the basic
                                             15   who, what, where, when, and how of its causes of action, leaving Defendants to guess as to what the
                                             16   underlying allegations are. Accordingly, dismissal is appropriate.
                                             17          III.          CONCLUSION
                                             18          For the foregoing reasons, it is respectfully submitted there is no valid cause of action to be
                                             19   brought against the Defendants based on the allegations of Plaintiff’s Complaint. Accordingly,
                                             20   dismissal is appropriate.
                                             21             DATED August 26, 2021.
                                                                                                        THE AMIN LAW GROUP, NV, LTD.
                                             22
                                             23                                                         /s/ Matthew K. Schriever
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                                                                                   DEFENDANTS’ MOTION TO DISMISS
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                                                                                       CERTIFICATE OF SERVICE
                                                1
                                                2           I HEREBY CERTIFY that on the 26th of August 2021, I served a true and correct copy of:

                                                3    DEFENDANTS’ MICHAEL STUDER AND SEA FRIENDS INCORPORATED’S
                                                     MOTION TO DISMISS PLAINTIFF ENERKON SOLAR INTERNATIONAL, INC.’S
                                                4    FIRST AMENDED COMPLAINT
                                                5    Via the following methods of service:
                                                6
                                                     _____ serving the following parties via US Mail, postage prepaid;
                                                7
                                                8    _____ serving the following parties via e-mail;

                                                9    __X__ serving the following parties via CM/ECF;

                                                10
                                                10   ______ serving the following parties via facsimile;
                                                11
                                                11   ______ serving the following parties via Overnight Express;
                                                12
                        / Fax: (702) 441-2488




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                                                18

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                                                20
                                                20                                        /s/Peter Gilmore____________________________
                                                                                          Peter Gilmore
                                                21
                                                21                                        An Employee of THE AMIN LAW GROUP, NV., LTD.
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